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  EXHIBIT!Q!
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                             Accounting for Loans to Evan Jowers from September 30, 2016 Present

    Date      "Zero" Loan     Revolving Loan Forgiveable Loan Jowers Credits Transaction Description

 11/23/2020      0 00          (13,189.66)     (25,683.90)         0.00       <    Present Value of Each Loan as of Date Shown


  9/30/2016    (30,000 00)     (93,009.74)      (25,711.92)                   Balance as of 9/30/2016
 10/15/2016                    (10,000.00)                                    loan of $10,000 to Jowers in paycheck
 10/15/2016                                       (12.21)                     Interest accrued 9/30 10/15 on Forgivable Loan

 10/15/2016                                                       243.94      Payroll gross up in 10/15 paycheck withheld to repay Forgivable Loan
                                                                              Withholding from 10/15 paycheck applied to repayment of Forgivable
 10/15/2016                                       12.21           (12.21)     Loan interest
                                                                              Withholding from 10/15 paycheck applied to repayment of Forgivable
 10/15/2016                                       231.73          (231.73)    Loan principal
 10/18/2016                    (10,309.93)                                    Loan to Jowers by sending money to Four Seasons Hong Kong
 10/25/2016                     (3,000.00)                                    Loan to Jowers sent by wire to Jowers FL bank account
 10/31/2016                                                      51,387.39    Withholding from 10/31/2020 paycheck for loan repayment
                                                                              Withholding from 10/31 paycheck applied to repayment of Revolving
 10/31/2016                     51,387.39                       (51,387.39)   Loan accrued interest and principal
 10/31/2016                                       (12.10)                     Interest accrued 10/16 10/31 on Forgivable Loan

 10/31/2016                                                       243.94      Payroll gross up in 10/31 paycheck withheld to repay Forgivable Loan
                                                                              Withholding from 10/31 paycheck applied to repayment of Forgivable
 10/31/2016                                       12.10           (12.10)     Loan interest
                                                                              Withholding from 10/31 paycheck applied to repayment of Forgivable
 10/31/2016                                       231.84          (231.84)    Loan principal
 11/15/2016                                                      17,958.28    Withholding from 11/15/2016 paycheck for loan repayment
                                                                              Interest accrual from 10/31 11/15 (15 days) on principal balance of
 11/15/2016                      (459 94)                                     $64,932.28 at daily rate of 0 0472222%
                                                                              Applied setoff from 11/15/2016 paycheck to pay off interest accrued on
 11/15/2016                      459 94                           (459.94)    Revolving Loan
                                                                              Applied remaining setoff from 11/15/2016 paycheck to reduce
 11/15/2016                     17,498.34                       (17,498.34)   Revolving Loan principal balance to $47,433.94
 11/15/2016                                       (11.99)                     Interest accrued 11/1 11/15 for Forgivable Loan

 11/15/2016                                                       243.94      Payroll gross up in 11/15 paycheck withheld to repay Forgivable Loan
                                                                              Withholding from 11/15 paycheck applied to repayment of Forgivable
 11/15/2016                                       11.99           (11.99)     Loan interest
                                                                              Withholding from 11/15 paycheck applied to repayment of Forgivable
 11/15/2016                                       231.95          (231.95)    Loan principal
 11/30/2016                                       (11.88)                     Interest accrued 11/15 11/30 for Forgivable Loan

 11/30/2016                                                       243.94      Payroll gross up in 11/30 paycheck withheld to repay Forgivable Loan
                                                                              Withholding from 11/30 paycheck applied to repayment of Forgivable
 11/30/2016                                       11.88           (11.88)     Loan interest
                                                                              Withholding from 11/30 paycheck applied to repayment of Forgivable
 11/30/2016                                       232.06          (232.06)    Loan principal

 12/13/2016                                                      41,009.00    Net commission earned for placement of Hui Xu ($41,009.00 gross)
 12/15/2016                                       (11.77)                     Interest accrued 12/1 12/15 for Forgivable Loan

 12/15/2016                                                       243.94      Payroll gross up in 12/15 paycheck withheld to repay Forgivable Loan
                                                                              Withholding from 12/15 paycheck applied to repayment of Forgivable
 12/15/2016                                       11.77           (11.77)     Loan interest
                                                                              Withholding from 12/15 paycheck applied to repayment of Forgivable
 12/15/2016                                       232.17          (232.17)    Loan principal
                                                                              Interest accrual from 11/15 to 12/15 (30 days) on principal balance of
 12/15/2016                      (671 98)                                     $47,433.94 at daily rate of 0 0472222%
 12/15/2016                                                      30,147.85    Withholding from 12/15 pay check for loan repayment
                                                                              Applied setoff from last paycheck to pay off interest accrued on
 12/15/2016                      671 98                           (671.98)    Revolving Loan
                                                                              Withholding from 12/15 paycheck applied as setoff of "zero interest"
 12/16/2016    30,000 00                                        (30,000.00)   loan

                                                                              Interest accrual from 12/15/2016 to 1/31/2017 (47 days) on principal
  1/31/2017                     (1,052.77)                                    balance of $47,433.94 at daily rate of 0 0472222%
                                                                              Applied setoff from last paycheck to pay off interest accrued on
  1/31/2017                     1,052.77                         (1,052.77)   Revolving Loan

  1/31/2017                     39,432.10                       (39,432.10)   Applied remaining balance of last last check as setoff to Revolving Loan

 11/23/2020                     (5,187.82)      (1,131.73)                    Interest accrued from 1/31/2017 to present day




Exhibit B - 3d Revised Initial Disclosures - Kinney Entities                                                                      Page 1 of 2
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                                                   Interest Calculations

                 Revolving Loan Calculations
                 Interest accrues at 17% annual rate (simple interest)
                 Daily rate (.17/360)                                        0.047222222%
                 Last balance                                                    (8,001 84)
                 Daily & Accrual Interest                                  $          3.78
                 Date of interest start                                          1/31/2017
                 Today                                                          11/23/2020
                 Total days                                                           1392
                 Total Interest since 1/31 balance                         $      5,187 82




                 Forgivable Loan Calculations
                 Interest accrues at 1.17% annual rate (simple interest)
                 Daily rate ( 0117/365)                                           0 00321%
                 Last balance                                                   (24,552.17)
                 Daily & accural                                           $          0.79
                 Date of interest start                                         12/16/2016
                 Today                                                          11/23/2020
                 Total days                                                           1438
                 Total Interest since 1/31 balance                         $      1,131.73




Exhibit B - 3d Revised Initial Disclosures - Kinney Entities                                  Page 2 of 2
